Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 1 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 2 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 3 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 4 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 5 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 6 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 7 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 8 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 9 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 10 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 11 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 12 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 13 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 14 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 15 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 16 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 17 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 18 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 19 of 20
Case 1:20-cv-00925-SM Document 1 Filed 09/03/20 Page 20 of 20
